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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION


                                                                  Case No. 1:18-CV-06785
          IN RE: LOCAL TV ADVERTISING                             MDL No. 2867
          ANTITRUST LITIGATION
                                                                  Hon. Virginia M. Kendall




        JOINT STIPULATION TO EXTEND TIME FOR (1) DEFENDANTS TO
RESPOND TO COMPLAINT AND (2) PLAINTIFFS TO RESPOND TO DEFENDANTS’
                       DISCOVERY REQUESTS

         Plaintiff King Furs, Inc. (“Plaintiff”), and Defendants Dreamcatcher Broadcasting, LLC,

The E.W. Scripps Company, Gray Media Group, Griffin Communications, LLC, Meredith

Corporation, Nexstar Media Group, Inc., Sinclair Broadcast Group, Inc., TEGNA, Inc., Tribune

Broadcasting Company, LLC, and Tribune Media Company (collectively, “Defendants”) submit

this joint stipulation to extend Defendants’ deadline to file responses to Plaintiff King Furs’s

Antitrust Class Action Complaint (“Complaint”), Case No. 2:22-cv-02301, ECF No. 1, stating as

follows: 1

         1.       On May 17, 2022, Plaintiff filed the Complaint against Defendants in the United

States District Court for the Western District of Tennessee, Case No. 2:22-cv-02301, ECF No. 1.

         2.       On June 9, 2022, Plaintiff filed a Notice of Potential Tag-Along Action before the

United States Judicial Panel on Multidistrict Litigation (“JPML”), MDL No. 2867, ECF No. 111.


1
  Fox Corporation (“Fox”) is also listed as a defendant in Plaintiff King Furs’s Complaint. Fox has not been served,
waived service, or been requested to waive service, and so Fox does not need to respond to the Complaint at this
time. For that reason, Fox is not joining this joint stipulation to extend the time to respond. Fox does not oppose the
entry of this order to extend the time to file an answer as to the listed Defendants.
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         3.       On July 6, 2022, the JPML issued a Conditional Transfer Order to transfer this

matter to Local TV Advertising Antitrust Litigation, Case No. 1:18-cv-06785, MDL No. 2867, in

the United States District Court for the Northern District of Illinois.

         4.       Plaintiff and Defendants previously conferred and agreed that Defendants’

Answers to the Complaint would not be due until 21 days after the JPML issued the Conditional

Transfer order, which was July 27, 2022. 2

         5.       Counsel for Plaintiff and counsel for Defendants subsequently further conferred

and filed a stipulation to extend Defendants’ deadline to file Answers to the Complaint until

Friday, September 9, 2022, ECF No. 720.

         6.       Counsel for Plaintiff and counsel for Defendants have further conferred and

agreed to extend Defendants’ deadline to file Answers to the Complaint until Friday, September

29, 2022.

         7.       On July 29, 2022 and August 1, 2022, Defendants propounded their First Set of

Requests for Production, First Set of Interrogatories, and Second Set of Interrogatories on

Plaintiff, with responses and objections due on or before August 29, 2022 and August 31, 2022,

respectively.

         8.       Plaintiff and Defendants previously conferred and agreed to extend Plaintiff’s

deadline to respond to Defendants’ discovery requests to Wednesday, September 14, 2022.

         9.       Counsel for Plaintiff and counsel for Defendants have further conferred and

agreed to extend Plaintiff’s deadline to respond to Defendants’ discovery requests to Thursday,

October 6, 2022.


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 See Local TV Advertising Antitrust Litigation, Case No. 1:18-cv-06785, ECF No. 14 at 3 (“Part VII (D)(1):
The parties should inform the Court if any answers have been filed in the cases. If not, the parties should propose a
deadline to file such answers.”)


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        10.    No party will be prejudiced by an order granting the requested relief, and the

interests of justice favor the entry of such order.

        WHEREFORE, Plaintiff and Defendants respectfully request that the Court enter an

order extending Defendants’ deadline to respond to the Complaint until Friday, September 29,

2022.

 Dated: September 9, 2022                                 Respectfully submitted,


                                                          /s/ Jason H. Kim

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                  [PROPOSED] ORDER TO EXTEND TIME FOR
                  DEFENDANTS TO RESPOND TO COMPLAINT


IT IS SO ORDERED.

Dated: _____________, 2022


                                                       HON. VIRGINIA M. KENDALL




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